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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                                )
Femi Jay Isijola,                               )
                                                )
          Plaintiff,                            )
                                                )
v.                                              )       Civil Nos. 4:23-cv-40080-MRG;
                                                )                  4:23-cv-40156-MRG
                                                )
US Telecommunications, Inc.,                    )
Miguel Ortiz, and Monica Bartels,               )
                                                )
                                                )
          Defendant(s).                         )
                                                )

                           ORDER ON MOTION TO RECUSE JUDGE

GUZMAN, J.

          Plaintiff Femi Jay Isijola has two pending civil matters before this Court: the present case

(the “USTCi case”) and Isijola v. Grasso, Civil No. 4:23-cv-40156 (the “Grasso case”). The

following order applies to both of these cases. For the reasons stated below, Plaintiff’s Motions

for Recusal (a/k/a “Plaintiff’s Motion to Disqualify Judge”) [ECF No. 59 in the USTCi case; ECF

No. 72 in the Grasso case] are DENIED.

     I.       PROCEDURAL HISTORY

          The relevant facts are as follows. The Court ordered a hearing in the USTCi case for

defendant Monica Bartels’ motion to dismiss, to be held at 10:30am on August 8, 2024. Separately,

in the Grasso case, on August 8, 2024, Plaintiff filed a motion to recuse me as the judge from both

of his civil cases listed above. [ECF No. 72]. At 10:29am on August 8, 2024, while the Court

waited to begin the motion to dismiss hearing in the USTCi case, Plaintiff emailed the Courtroom

Clerk to notify the Court that he refused to appear before me because he insisted I must recuse
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myself. [See email attached as Ex. 1]. Despite the motion for recusal being filed in the Grasso case

while the hearing was scheduled in the USTCi case, I treated the motion as applicable to the USCTi

case and denied it for reasons stated on the record. The hearing proceeded without Plaintiff’s

presence. This memorandum and order serve to document Plaintiff’s contumacious behavior and

to lay out the Court’s reasoning in denying the motion for recusal.

   II.      DISCUSSION

         Plaintiff moves for recusal based on 28 U.S.C. § 455 and 28 U.S.C. § 144. His motion

reveals no basis for the Court’s recusal under either statute.

         Under 28 U.S.C. § 455(a), a judge “shall disqualify h[er]self in any proceeding in which

h[er] impartiality might reasonably be questioned.” Id. This ensures that the “courts must not only

be, but seem to be, free of bias or prejudice.” In re United States, 158 F.3d 26, 30 (1st Cir. 1998).

However, courts must not grant recusal simply to avoid any allegation of prejudice since doing so

“would provide litigants with a veto against unwanted judges.” In re Boston’s Children First, 244

F.3d 164, 167 (1st Cir. 2001). Instead, courts must weigh the objective facts asserted, “not rumors,

innuendos, and erroneous information,” and consider whether the actual facts “provide what an

objective, knowledgeable member of the public would find to be a reasonable basis for doubting

the judge’s impartiality.” In re United States, 666 F.2d 690, 695 (1st Cir. 1981).

         Recusal under 28 U.S.C. § 144 is required only if the movant can establish an “averment

of facts showing that the judge ‘has’ a personal bias or prejudice, not that the judge might have

such a bias or prejudice or that grounds exist for further inquiry.” In re Martinez-Catala, 129 F.3d

213, 219 (1st Cir. 1997). As explained below, Plaintiff does not allege any facts of my personal

bias or prejudice against him but rather dissatisfaction with my rulings and docket management.

In his motions, Plaintiff expresses dissatisfaction with the Court scheduling a hearing on Bartels’



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motion to dismiss because he states he was not given a hearing on his opposition to the motion to

dismiss. Two days before the hearing, the Courtroom Clerk notified Plaintiff via email that the

motion to dismiss hearing would be his opportunity to present his opposition, and yet he refused

by his own volition to attend. [See Aug. 6, 2024 email, Ex. 1]. Additionally, Plaintiff appears to

be incensed that the Court held the motion to dismiss hearing without his presence. Plaintiff had

the opportunity to appear before the Court and be heard in respect to Bartels’ motion but chose not

to do so at his own peril. Further, the Court did not outright grant the motion to dismiss simply

because of Plaintiff’s non-appearance. Rather, I took the motion under advisement and eventually

granted it in part and denied it in part on the merits. [See ECF No. 77 in the USTCi case].

       Plaintiff is also discontented that, in the Grasso case, the Court had previously constrained

him to the page limits permitted by the District’s Local Rules and struck an affidavit he had filed

as “redundant, immaterial, [and] impertinent” under Federal Rule of Civil Procedure 12(f). [See

ECF No. 65]. That order came after Plaintiff routinely filed memorandum with supplemental

affidavits in several motions that were all above the twenty-page limit for filings, a practice he

continues today. None of these above actions reveal any display of prejudice or personal bias but

are mere matters of judicial administration, which district judges have clear authority to manage

at their discretion. Rivera-Aponte v. Gomez Bus Line, Inc., 62 F.4th 1, 3 (1st Cir. 2023) (“To

ensure the fair and prompt adjudication of cases, a district court must be able to manage its docket

effectively and efficiently” and district courts are afforded “a wide margin of discretion in the

performance of their case-management functions.”).

       While the Court is amenable to counsels’ scheduling conflicts, a scheduling order issued

by the Court is still a court order and failing to appear without notice or good cause is in defiance

of a court order. The Court may sanction a pattern of contumacious conduct, including by



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dismissing a case sua sponte, after contemplating a lesser sanction and “warning the disruptive

party that it may be sanctioned.” See Vivaldi Servicios de Seguridad, Inc. v. Maiso Grp., Corp.,

93 F.4th 27, 30 (1st Cir. 2024) (citing Lawes v. CSA Architects & Eng’rs, 963 F.3d 72, 191 (1st

Cir. 2020)). The Court respects that there is a “strong presumption in favor of deciding cases on

the merits” and parties should be afforded “procedural aspects such as notice.” Id. at 31 (quoting

Garcia-Perez v. Hosp. Metropolitano, 597 F.3d 6, 7 (1st Cir. 2010) (per curiam)) (internal

quotation marks omitted). However, “a pattern of contumacious conduct” may warrant a dismissal

under Fed. R. Civ. P. 41(b). Id.

          Mr. Isijola is therefore advised to abide by all court orders, including orders to appear and

orders to comply with filing rules, unless he can display good cause for not doing so. Continued

disruptive conduct may warrant more severe sanctions.

   III.      CONCLUSION

   For the reasons stated above, Plaintiff’s motions for recusal are DENIED.


SO ORDERED.

Dated: October 31, 2024

                                                         /s/ Margaret R. Guzman
                                                        Margaret R. Guzman
                                                        United States District Judge




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